SCHOOL OF LAW
FACULTY

Seton Hall
University

One Newark Center, Newark, New Jersey 07102-5210
Main No. (973) 642-8800

(973) 642-8194 / 8546

Internet: Http://www.shu.edu/law/

September 6, 2023

Honorable Sanket J. Bulsara
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

RE: LoCurto v. United Stats of America
Civ No. 10-cv-4589
BY ECF

Dear Judge Bulsara:

This letter will constitute the final witness list of the plaintiff, pursuant to your
order of August 18, 2023.

Plaintiff hereby declares that he is abandoning his request for discovery of
documents identified in the government’s privilege log filed under docket entry
111. His final witness list is as follows:

Stephen LoCurto
MDC Brooklyn

Lisa LoCurto

45 Jamie Court
Suffern, New York 10901

The Catholic University in New Jersey - founded in 1856
Case 1:10-cv-04589-NGG-SJB Document 218 Filed 09/06/23 Page 2 of 2 PagelD #: 1803

Alan Nelson, Esq.

United States Court of Appeals Executive Offices
Thurgood Marshall United States Courthouse

40 Foley Square

New York, New York 10007

(212) 857-8726

John D. Buretta, Esq.
Cravath, Swaine, and Moore
Worldwide Plaza

825 Eighth Avenue

New York, New York 10010
(212) 474-1260

Greg Andres, Esq.

Davis Polk

450 Lexington Avenue

New York, New York 10017
(212) 450-4724

Attorney for Stephen LoCurto
